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                                                                                    Clerk, U.S. District Court, ILCD



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5 •         1   er; Jason E Ralston, S06627               :.r
6.. .               JOLIET TREATMENT CENTER
                    2848 West McDonough Street
                    Joliet, IL 60436




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          WwALKENHORST'S     445 Ingenuity Ave , Sparks, NV 89441
                        Toll Free: (800) 660-9255 Fax: (707) 261'-4020
                                    www.walkenhorsts.com

May 19, 2021

Jason Ralston S06627
JTC
2848 W. McDonugh St
Joliet, IL 60436



Mr. Ralston,

Thank you for writing Walkenhorst's and letting us know of your concerns.
Apologies for the delay in response time, we have been receiving a large volume of
mail, both orders and letters, than usual or expected in recent weeks. This has
slowed down our usual response time to the letters from our customers.

Enclosed you will find a copy of order 3568615 and the proof of delivery.

Thank you again, and please let us know if we can be of any further assistance.



                                                                            Best Regards,
                                                                                   David
                                                                         Customer Service
                                                                    1:07-cv-01298-MMM # 3409                                                                Page 10 of 55

                                                                                                                                                                                                                       CR
                                                                                                                                                                                                  SALES ORDER

                                              WALKENHORST'S
                                 445 Ingenuity Ave, Sparks, NV 89441
                                                                                                                                                                                          IL050
                                                                                                                                                                                               Special Purchase/ OS

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                            Phone Toll Free: 800-660-9255 · Fax 707-261-4020
                                        www.walkenhorsts.com                                                                                                                          3568675

              Customer: IL050                                                                                                                                                     Ship To:
              Joliet Treatment Center                                                                                                                                             Jason Ralston S06627
              Attn : PatientAccoun~                                                                                                                                               Joliet Treatment Center
              2848 McDonough St                                                                                                                                                   2848 McDonough St
              JOLIET, IL 60431                                                                                                                                                    JOLIET, IL 60436



   Cust PO / R~f~renc.e     I                                                     I      Terms     I Rep . I          StiipVia                                                                           Qi.lot~       Facility
         M02704             I                                                    I      Prepaid    I  MW    I     Ground  Shipping                                                                      5365782         IL050
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     20005105         1 Tl-36X PRO                                                    Texas Instruments Scientific Calculator                                                                                 29.90       29.90
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  3       30546002                 5        MG2757                                    Security Envelopes 80ct #6 (Small)                                                                                       1.90        9.50
  4       30546027                 1        ;315 (MG1534)                             Flexibie Ruler - Assorted Colors                                                                                         1.00        1.00
  5        1020302                 1        79100G                                    Royal Epoch Manual Typewriter                                                                                         239.90      239.90
  6       18010001                 2        GPC991297                                 Basic Typing/Copy Paper - 500 Sheets                                                                                    6.90        13.80
  7       18010010                20        535021                                    Manilla Envelope 1O" x 15"                                                                                              0.50        10.00
  8       18010009                20        S-10378                                   M,milla Envelope 1O" x.13"                                                                                              0.40         8.00
  9       18010011                20        381944                                    Manilla Envelope 6" x 9"                                                                                                0.15         3.00
 10       90622196                 2        1228539-100 3XL                           UA Tech SS Tee .Wht/Blk 3XL                                                                                            2•f9Q,       49.80
 11       17021102                 1        National East Catalog                     National East 2021 Summer Catalog                                                                                       0.00         0.00
 12             30                 1                                                  Shipping                                                                                                                Ef 99        6.99
 13             50                 1                                                  Check Refund Issued                                                                                                    13.90        13.90
 14
 15                                         NOTE: REFUND TO TRUST. UA LIVE SET TEE
 16                                         GRAY 3XL IS DISCONTINUE-D AND -HAS BEEN
 17                                         REPLACED WITH UA TECH SS TEE WHT/BLK
 18                                         3XL. THANK YOU.




Note from purchaser: -                                                                                                                                                                             Subtotal                 415.79
                                                                                                                                                                                                   Sale? Tax                  0.00
Specifications are subject to change without notice. All included accessories and original purchase receipt are required
for all returns. Returns must be made within 30 days or manufacturer's warranty period. Shipping charges are
                                                                                                                                                                                                   Totql                    415.79
non-refundable. Other restrictions apply.                                                                                                                                                          on
                           1:07-cv-01298-MMM # 3409             Page 11 of 55
Tracking I UPS - United States                                                                     Page 1 of 1




   Proof of Delivery
   Dear Customer,

   This notice serves as proof of delivery for the shipment listed below.

   Tracking Number
   1ZR7844X0348180326

   Weight
   43.40 LBS

   Service
   UPS Ground

   Shipped / Billed On
   04/13/2021

   Delivered On

   04/16/2021 12:07 P.M.

   Delivered To
   JOLIET, IL, US
   Received By
   AR
   Left At
   Office

  Thank you for giving us this opportunity to serve you . Details are only available for shipments
  delivered within the last 120 days. Please print for your records if you require this information after
  120 days.

   Sincerely,

   UPS

  Tracking results provided by UPS: 05/19/2021 11:05 A.M. EST
                                                       1:07-cv-01298-MMM # 3409                                       Page 12 of 55
                                                                           ILLINOIS DEPARTMENT OF CORRECTIONS



                                                               Offender Authorization for Payment

            Posting Document#                .                       ,--....                                     ~(f}
                                                                                                                   ~ ,4~~c_4
                                                                                                                    Date    ~_      0 ____,1_. _ -~ -Q c:J_ )
            Offender Name          ~So tJ . E'l t.JJ+ ~s+o {\)                                            ID# s OCo (p a_7 Housing Unit-.!....
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            Pay to

                     Address

                City,State,Zip
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            The sum of                  I      ~ ~ k,C::- dollars and o·0 0 ;<l cents charged to my trust fund
            account, for the purpose of Tv oe L).jl R~ ·-+SJ? A A AU ( E:.AA
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         )!) I hereby authorize payment of postage for the attacher ·.r
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                                                                                                              I hereby request information on electronic
                                                                                                                     ansfers to be placed in the attach:d mail.
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            Offender Signature               ~                       •          •                ~                             ID#    S () (n (a ,.J 7
         ' Witness Signatur~             /                  - : (~   J~        .._,,e,-c·-                                 ~
        ~              ~ed     •   Not Approved

            Postage applied in the amount of
                                                       Chief A~

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                                                                          lralive Officer Signature ~

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            Distribution: Business Office, Offender, Mail Room                                                                                       DOC 0296 (Eff. 1/2006)
                                                                                                                                                     (Replaces DC 828)
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                                   (        ILLINOIS DEPARTME NT OF CORRECTIONS
                        NOl't !CATION OF UNAUTHORIZED ITEM(S) RECEIVED IN THE MA IL
                                                         Joliet Treatm ent Center
                                                                                                         i>.:l-
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                                            ~L~~~r~~-~=
ALLOWED          iv1~ WILL BE HELD UNTIL THE UNAUTHORIZED MAIL HAS BEEN PROCESSED,
THERE ( W A ~ ALLOWED MAIL INCLUDED WITH THE UNAUTHORIZED MAIL.

PLEASE SELECT FROM ONE OF THE FOLLOWING OPTIONS AND SIGN THE BOTTOM OF THIS FORM. RETURN
THE FORM TO THE MAIL ROOM .

___ Yo u may return th e unaut h o riz ed it em (s) to t he senJ er by se nding an addressed prepa id enve lop e o r Offe nder
Aut ho ri zatio n fo r Pa ym ent ATTACHED TO THIS NOTICE to t he mail room. The all owed m ail (if an y) wi ll be sen t to yo u at
t h at t im e .

          Yo u ma'( h 3ve the tin autho riz ed item( s) destroyed . fii ,= 9J!.Qwe d mai l (if any ) w ill be se nt to ; o u i)t th at t ime .
                                                                                                                           1




        You m ay have som eone pick up t he un aut h~ ri zed it en 1(s) at th ,2 Front Ga te. (You wi ll be cont ac ted by t h e Prop ert y
De p ar tni F: nt to nnke th e arra nge m en ts. ) The ~l~t •Ne d mai l (if any) wi ll be sent t o vo u at th at time

                                       IF YOU DO NOT RESPOND TO THIS NOTICE WITHIN 30 DAYSr
    THE UNAUTHORIZED ITEM{S) WILL BE DESTROYED AND THE REMAINING MAIL Will BE SENT TO YOU .

    1J      Pho to o f anot he r inm ate , we apons, mo nev, a lco hol, in app ro pri ate or nud e person
    LJ      Un us ed en ve lopes, stamp s, pa per, jo urna ls, card s, penc il s, o r foo d ite ms th at ca n be bo ught in t he co m m iss ary
    !J      Ho m emad e ca rd s (if heavily glu ed, pas t ed or pai n ted), st ick ers, m agn ets, clo th , leathe r, rib bo n, feat he r s,
            f lo we r s, hc1 ir, be2ds, m ar ker, cravo n, glitter, lips ti ck e r any fo reign o r any un id e nt ifiable substan ce or material
    []      Plas tic card s, lami nated item s, m aps, at las es, CDs or reco rding dev ices
    r·1     So licitation s of monev, phone cards, lottery ticket s, bus pas ses, un ap proved bu sin ess ve nt ures, chai n lett ers,
            p etit ions o r con tr ac ts, o r bu sin ess ca rds
    r-1     Ma il fro m an inm ate in a co rrec ti o nal faci lity t hat has no t bee n ap proved bv the \Nardens o f bot h facili t ie s
    iJ      Le tte rs t o o r from a th ir d pa rt y
    []      Dru gs/ drug paraphernali a
    1·]     Suspected se curit y threat gro up in fo rma ti o n o r p ho tos
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            RESIDENT SIG ~JATUR E                                                NU MB ER                                  DATE

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 s· ·                  JOLIET TREATMENT CENTER                                                                  Ii
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                       2848 West McDonough Street
                       Joliet, IL 60436                                                                         •I




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                 You have the right to appear and present a written.or oral statl:lmenf ot;explanatiorLcoheerning the charges. You may present rele:vanfl:ihysical material such
                 as records or documents.     ··  ·     ·             .•      ( · · · .'.:; ,.· •~-...,·.•· . ·,' • ... ·· :· '· '  ·  ·. •• · ::::-:":'. ,. ··•. .. ·       · •
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             questioned along lines you· suggest. Yo.u must indicafei1n advance .. .           e.aring the witnesses you wish to have in~erviewed and specify wt\at they could
             testifyto byfilling out the appropriate spape on 'thrs form, tearing it ciff( an1fretuming it to the Adjustment Committee, Yotiryiay!have staff assistance if you are
             unable to prepare a defense. You may request a_feasonable extension of timEl to prepare for your hearing.                          ·

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                                                 1:07-cv-01298-MMM # 3409                  Page 17 of 55


                                         STATE OF ILLINOIS ·• DEPARTMENT OF CORRECTIONS
                                                              ADJUSTMENT COMMITTEE
                                                              FINAL SUMMARY REPORT

                   Name: RALSTON, JASON E                             IDOC Number: S06627                                           Race: WHI
 Hearing Date/Time: 5/11/2021               10:00 AM                    Living Unit: JTC-D1-A-08                 Orientation Status: N/A
   Incident Number: 202100561/1 - JTC                                        Status: Continued Final

  Date                Ticket#                      Incident Officer                Location                                     Time

 4/28/2021            202100561/1-JTC              JACKSON, BRITTNEY D             INTAKE/SHAKEDOWN ROOM                            02:30 PM

    Offense                              Violation                                                      Final Result
    206                                   Intimidation Or Threats
     Witness Type                        Witness ID           Witness Name                            Witness Status

 No Witness Requested

RECORD OF PROCEEDINGS
 Residents hearing was unable to be conducted, due to his crisis watch status.



 BASIS FOR DECISION
 Adjustment Committee has continued residents hearing due to be conducted on 5/11/21 due to his current watch status.


DISCIPLINARY ACTION (Consecutive to any priors)
                          RECOMMENDED                                                                           FINAL
  CONTINUE                                                                     --- C O N T I N U E D ---
  Basis for Discipline:

    Signatures
   Hearing Committee                                                                                                   )
    YANCY, ANDREA - Chair Person                                                                                           05/11/21            BLK
                                                                                                                             Date              Race
    COGLIANESE, JENNIFER E                                                                                                 05/11/21            WHI
                                                                                                                             Date              Race
    Recommended Action Approved


Final Comments: NIA




 CATHERINE A LARRY/ CAL 5/20/2021                                      ~                                            05/20/21
          Chief Administiative Officer                                       Signature                / /           Date
                                                                                                  /
The committed person h s the right to appeal an adverse decision through the grievance proce_sJ de, established by Department Rule 504: Subpart F.



         Employee Servin
                                        1:07-cv-01298-MMM # 3409                     Page 18 of 55



                             STATE OF ILLINOIS -- DEPARTMENT OF CORRECTIONS
                                                     ADJUSTMENT COMMITTEE
                                                     FINAL SUMMARY REPORT

             Name: RALSTON, JASON E                          IDOC Number: S06627                                      Race: WHI
Hearing Date/Time: 6/17/2021      10:33 AM                      Living Unit: JTC-D1-A-08                Orientation Status: N/A
 Incident Number: 202100561/2 - JTC                                  Status: Final

 Date           Ticket#                  Incident Officer                   Location                                  Time

4/28/2021       202100561/1-JTC          JACKSON, BRITTNEY D                INTAKE/SHAKEDOWN ROOM                      02:30 PM

   Offense                     Violation                                                      Final Result
   206                         Intimidation Or Threats                                        Guilty
    Witness Type              Witness ID             Witness Name                          Witness Status

No Witness Requested

RECORD OF PROCEEDINGS
Resident Ralston, Jason (S06627) - identified by State-issued ID Card - was present for the proceeding and the IDR was
read: Resident Ralston had been on varying levels of Crisis Watch since being initially placed on Crisis Watch on April 28,
2021 until today's Hearing date conducted on June 17, 2021 where Resident Ralston remained on a 30 Minute Crisis
Watch; however, was approved by Mental Health to participate in his proceeding(s).

Resident Ralston, Jason (S06627) is charged with being in violation of DR.504.206 - Intimidation or Threats.

Resident Ralston pleaded not guilty to the (206) charge and added, "I was agitated and yelling at them (CTOs B. Jackson
and J. Bridgeforth) because they were counting down the fucking minutes for getting my property in compliance. They
started yelling at me and threatening me. CTO Barnes told me that I can turn in some stuff. I said, "She's (B. Jackson)
rushing me. I yelled at B. Jax and told her, 'You're a bitch!' She was trying to get me to do this quickly. I did not stick my
hand, or take steps to her. I just called her a 'bitch.' (CTO) Bridgeforth said I was getting agitated and turn around and
cuff-up. I complied. Bridgeforth then threatened me and cussed me out."

*Resident Ralston also provided a list of several witnesses as follows: TA-CTOS Vera, CTO R. Martin, CTO B. Jackson
and CTO J. Bridgeforth . These witnesses were not called due to untimely presentation. Resident Ralston was served the
DOC 0317 on May 3, 2021 at which time he should have presented these witnesses.

BHT A. Mack was present for the proceeding .



BASIS FOR DECISION
On April 28, 2021 at approximately 2:30 PM in Personal Property at Joliet Treatment Center, the following occurred per the
issued DOC 0317:

CTO B. Jackson's report states on the above date and approximate time, I CTO B. Jackson was in the process of sorting
Resident Ralston (S06627) property so he can go back to his housing unit. Resident Ralston became agitated when I told
him he had excess property. Resident Ralston then became aggressive by walking up to me in an intimidating manner
slapping his hands and calling me a bitch as he closed in on me. Resident Ralston was in my face when he had to be
pulled away to maintain distance between us. Further, Resident Ralston got in CTO Bridgeforth's face by telling him, 'What
you gonna do!?' in an aggressive manner. Resident Ralston S06627 identified by Institutional Graphics. EOR.

A DOC 0443 was generated on April 30, 2021 by QMHP C. Riles-Daniels and it is the QMHP's professional opinion that
Resident Ralston's Mental Illness DID NOT contribute to the underlying behavior of the offense for which the DOC 0317
was issued . The Treatment Team recommends 0-29 Days of Restrictive Housing and Loss of Privileges such as 0-30
Days C-Grade or as determined by the Adjustment Committee.
                                                                                                                                  \
The Adjustment Committee finds Resident Ralston, Jason (S06627) guilty of violating DR.504 .206 - Intimidation or
Threats based on CTO B. Jackson 's written report and proper identification of Resident Ralston via State ID number - as
well as witness account from CTO Bridgeforth. The Adjustment Committee recommends 7 Days Restrictive Housing and
14 Days Commissary Restriction based on nature of offense and this being Resident Ralston's first disciplinary infraction
sincelastJune,2020.
                                                                                         1:07-cv-01298-MMM # 3409                                                                    Page 19 of 55

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                                                                                                                Offender Disciplinary Report                                                                                                             ,~· '-' .

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                      Observation: (NOTE: Each offense identified above must be substantiated.)




                                              D Check if Offender Disciplinary .Continuation Pa                           e, DOC 0318, .is attached to describe additional facts,ubservations or witnesses.

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                   :Reviewfog Officer's Decision:                             D Confinement reviewed byR~viewirig.Officer                                                              Comment:______________

                                                                                                                                                                                 Adjustment Committee




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          •• unable to prepare a -defense. You may reqµest a reasonable extensi911 .!?t tjfne !o WeP,,ar_         e Jor your hearing.                                                  .

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                             -                             .D I hereby agree to waive 24~hour notice ·otcharges prior to the disciplinary hearing . .
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                                               1:07-cv-01298-MMM # 3409                  Page 20 of 55


                                        STATE OF ILLINOIS -- DE:PARTMl;NT OF CORRECTIONS
                                                             ADJUSTMENT COMMITTEE
                                                             FINAL SUMMARY REPORT

                  Name: RALSTON, JASON E                            IDOC Number: S06627                                      Race: WHI
 Hearing Date/Time: 5/11/2021              10:00 AM                   Living Unit: JTC-O1-A-08                 Orientation Status: N/A
   Incident Number: 202100560/1 - JTC                                      Status: Continued Final
                                                                                         ..
  Date               Ticket#                     Incident Offfcer                Location                                    Time

  4/28/2021          202100560/1-JTC                                             DORM 1                                       02:45 PM

     Offense                            Violation                                                    Final Result
    206                                 Intimidation Or Threats
     Witness Type                       Witness ID          Witness Name                         Witness Status

 No Witness Requested

 RECORD OF PROCEEDINGS
  Residents hearing was unable to be conducted, due to his crisis watch status.



 BASIS FOR DECISION
 Adjustment Committee has continued residents hearing due to be conducted on 5/11/21 due to his current watch status .


 DISCIPLINARY ACTION (Consecutive to any priors)

                         RECOMMENDED                                                                         FINAL
   CONTINUE                                                                  --- C O N T I N U E b ---
  Basis for Discipline:

    Signatures
    Hearing Committee
    YANCY, ANDREA - Chair Person                                                                                                         BLK
                                                                                                                                        Race
    COGLIANESE, JENNIFER E                                                                                                              WHI
                                                                                                                                        Race
    Recommended Action Approved


Final Comments: N/A




 CATHERINE A LARRY/ CAL 5/20/2021
         Chief Administrative Officer

The committed person has the right to appeal an adverse decision through the grievance procedure established by Department Rule 504: Subpart F.

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                                                                                     When Served • • Date and Time
                                              1:07-cv-01298-MMM # 3409                       Page 21 of 55



                                  STATE OF ILLINOIS -- DEPARTMENT OF CORRECTIONS
                                                           ADJUSTMENT COMMITTEE
                                                           FINAL SUMMARY REPORT

                 Name: RALSTON, JASON E                             IDOC Number: S06627                                           Race: WHI
 Hearing Date/Time: 6/17/2021          10:47 AM                         Living Unit: JTC-D1~A-08                  Orientation Status: N/A
   Incident Number: 202100560/2 - JTC                                        Status: Final

  Date             Ticket#                     Incident Officer                     Location                                     Time

  4/28/2021        202100560/1-JTC             KORTEN, CAMILLE L                    DORM 1                                        02:45 PM

     Offense                        Violation                                                           Final Result
    206                             Intimidation Or Threats                                             Guilty
      Witness Type                 Witness ID              Witness Name                              Witness Status

 No Witness Requested

 RECORD OF PROCEEDINGS
  Resident Ralston, Jason (S06627) - identified by State-issued ID Card - was present for the proceeding and the IDR was
  read. Resident Ralston had been on varying levels of Crisis Watch since being initially placed on Crisis Watch on April 28,
  2021 until today's Hearing date conducted on June 17, 2021 where Resident Ralston remained on a 30 Minute Crisis
  Watch; however, was approved by Mental Health to participate in hjs proceeding(s).

  Resident Ralston, Jason (S06627) is charged with being in violation of DR.504.206 - Intimidation or Threats.

  Resident Ralston pleaded not guilty to the (206) charge and added, "Isn't it true that (CTO) B. Jax is embellishing? Isn't it
  true that the Bible says, 'Thou shall not lie?' Initially, I called her a bitch, I'll admit. I did not reach that level of agitation with
  her. I told her (Dr. Korten), 'I'm going to sue you for deliberate indifference.' I yelled at B. Jax and (CTO) Bridgeforth. I put
  my foot down, leaned forward and yelled at her. But that's not intimidation or threats."

  *Resident Ralston also provided a list of several witnesses as follows: Jason Ralston himself, CTOS Powell , QMHP
  Korten, Dr. Pablo Stewart, Attorney Mills UPLC and Harold Hirschner SR. Partner. These witnesses were not called due to
  untimely presentation. Resident Ralston was served the DOC 0317 on May 3, 2021 at which time he should have
  presented these witnesses.

  BHT A. Mack was present for the proceeding.



 BASIS FOR DECISION
  On April 28, 2021 at approximately 2:45PM in Dorm 1 A-Wing Dayroom at Joliet Treatment Center, the following occurred
  per the issued DOC 0317:

 PsyD C. Korten 's report states on the above date and approximate time, this writer was assessing Resident Ralston
 (S06627) for crisis placement. At one point, he leaned forward, put his foot on the ground (was cross-legged), and his eye
 contact intensified in an aggressive, threatening manner. Resident Ralston raised his voice and said , "I'm going to sue
 you, you fucking bitch for taking me off watch and putting me in that situation ." As this writer exited, he said, "You bitch,
 I've written you up three times." Of note, he was restrained - hands behind him - during this assessment. EOR.

   A DOC 0443 was generated on April 30 , 2021 by QMHP C. Riles-Daniels and it is the QMHP's professional opinion that
   Resrdent Ralston 's Mental Illness DID NOT contribute to the underlying behavior of the offense for which the DOC 0317
 . was issued. The Treatment Team recommends 0-29 Days of Restrictive Housing and Loss of Privileges such as 0-30
' Days C-Grade or as determined by the Adjustment Committee.

 The Adjustment Committee finds Resident Ralston , Jason (S06627) guilty of violating DR.504.206 - Intimidation or
 Threats based on review of the Surveillance Footage corroborating Psy D C. Korten 's written report - as well as proper
 identification of Resident Ralston via State ID number. The Adjustment Committee recommends 7 Days Restrictive
 Housing and 14 Days B-Grade based on nature of offense and th is being Resident Ralston's second disciplinary infraction
 since last June, 2020.
                                                                                                               1:07-cv-01298-MMM # 3409                                                               Page 22 of 55
                                                                                                                                           ILLINOIS DEPARTMENT OF CORRECTIONS

                                                                                                                                            Offender Disciplinary Report

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                      Offense(s}: DR 504:                                                C'b '=t - I !--1 SL Iek ve
                      Observation : (NOTE: Each offense identified above must be substantiated.)                                                                                                                                         f ..
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                      Witness(es): .                          vLl k)i VY\\( V
                                                   0      Check if Offender Disciplina                                                                                                                     scribe additional facts, observations or witnesses.
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                                                                                                                                                         Disciplinary Action:

                      Shift Review:                            • Temporary Confinement                                                  0         Investigative Status                                  Reasons:______.....,.,__-+"-·~··~•-' ·-
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                      Printed Name and Badge#                                                                                                                  Shift Supervisor's Signature                                                                                     Date
                                                                                                                                                               (For Transition Centers, Chief Administrative Officer)

                      Reviewing Officer's Decision:                                                            0    Confinement reviewed by Reviewing Officer                                                      Comment:________ ______

                     ~         Major Infraction, submitted for Hearing Investigator, if necessary and to Adjustment Committee
                     0 Minor Infraction, submitted to Program Unit                                                                                                                                                                        /

                      Print1::i~'f'i niBfficer's N,ame an,d                                               l.re/                                                                                                              _,/                                                      fif t/f   r




                                                                                                     Procedures Applicable to all                          ~    arings on Investigative an                               clplinary Reports
                      You have the right to appear and present a written or oral statement or explanation concerning the charges. You may present relevant physical material such
                      as records or documents.
                                                                             Procedures Applicable to Hearings Conducted by the Adjustment Committee on Disciplinary Reports
                      You may ask that witnesses be interviewed and, if necessary and relevant, they may be called to testify during your hearing. You may ask that witnesses be
                      questioned along lines you suggest. You must indicate in advance of the hearing the witnesses you wish to have interviewed and specify what they could
                      testify to by filling o'ut the appropriate space on this form, tearing it off, and returning .it to the Adjustment Committee. You may have staff assistance if you are
                      unable to prepare a defense. You may request a reasonable extension of time to prepare for your hearing.

             ~ c k if offenderrefused 16 sign
                                                                                                                    Offender's Signature

                                                Hup#.i                                                                                                 IJJ J'i
                                                                                                                                                                                                                     < - - - ID#

                       Serving Employ~e r


                                                                                                      Date Served
                                                                                                                                                       Badge#


                                                                                                                                                                      · Time Served
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                                                                                                                                                                                                                                                        Signature




                                                                                    0        I hereby agree to waive 24-hour notice of charges prior to the disciplinary hearing.

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                                                                 1:07-cv-01298-MMM # 3409                                     Page 23 of 55
       /
                                                                                      ILLINOIS DEPARTMENT OF CORRECTIONS

                                                                                      Offender Disciplinary Report

                                          [7 lnw~stii:Jative                     Faciiity: _ _ _          5\
                                                                                                          ___C..,
                                                                                                             ________                                                                                    Date:        el~:,\~\
     Offender N a m e : ~ ~ •.                             ..)o.!:,t:,,f'\                      ID#: _ _5t)_~~~;;J-~
                                                                                                                  ____ SMI~:•                                                                              Race:       \f,::j~\.e_..
      Observation Date:                 8l'i'!,/ ~\                   Approximate Time:                 'f ":'55            • ~:~:      Lbcation~                                             \lo<:@~                    Cla~
      Offense(s): DR 504:                        ~<::)\a-.,~~~ c;                                             ~"ec::¥$




      Witness(es):
                     ...::a:-check if Offender Disci linary Continuation Pa e, DOC 0318, i attached to describe additional facts, obseiyations or witnesses,

              .~                                                      . ·~
                                                                                                                                                                                                                              ...Q.J_.m.
                                                                                                                                                                                                                              ~.m.
                                                                             Badge# . ·

                                                                                              .Disciplinary Action:

      Shift Review:             • Temporary Confinement                           0        Investigative Status              Reasons:
                                                                                                                                             --------,-------~--
                                                                                                                                                                                                           -·~



      Printed Name and Badge#                                                                   · Shift Supervlsor's _S_lgnature : ·    _                                                                             Date
                                                                                                  (For Transition Centers., Chief Admini,strative Officer)

      Reviewing Officer's Decision:                        0     Confinement reliiewed by Reviewing Officer                            Comment:_-_ ____________~

     .,QMajor Infraction, submitted for Hearing lnvestig·ator, if necessary                                     ii~d" ·
     6 Mi'l'!' lnlrac>jon, submitted lo~ m Unit                                                  ,,
        Jl_ltA, ll                     ~I
                                                                                                                                                                                                                      Date




                                                         Procedures Applicable             to all ~earings on lnvestig~!i"~ and Dis~~~~(}< Rep~rts
     You have the right to appear and pr~ent a written or oral statement or explanation co~ceml°ng the charg~~- You may present relevant physical material such
     as records or documents.              ·                                               ·     ·               ·
                                        Procedures Applicable            t~ Hearings Conducted by the Adjustme~t Commiftee·o'n DlscipUnary Reports
                                                             :                                                          ~                    : ~       ~         -        '               '                       w


     You may ask that witnesses be interviewed and, if necessary and relevant, they may be ca[led to testify durjrig .your hearing. You may ask that witnesses be
     questioned along lines you suggest. You must indicate in advance of the hearing the witnes~es yoy wish to ti<1ve ).(lterviewed and specify what they could
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        Cl1&i}J 5tal                                             Offender':,Signature           Is%J                                           /Iii .:::
     Serving Employee (Print Name)                       ~   //J sit /                        Badge#         g1-/j                             .__ ·~-                                                Signature

                                                         rf-£+erved-<,:                                 TlmeServed                                 ,                          _,,f            p.m.

                                            D I hereby agree to waive 24-hour notice of charges prior to the di~ciplinc!ry hearing .
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        /                        State of Illinois - - Depart,nent of Correc~c:,ris.
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                                    DISCIPLINARY REPORT/SUMMARY ' .· ·                                                       ·· ;;i
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                                                     1:07-cv-01298-MMM # 3409                                   Page 25 of 55


                                                                         ILLINOIS DEPARTMENT OF CORRECTIONS

                                                                         Offender Disciplinary Report
 T'4?r8 of Report:
       Disciplinary         D    Investigative                          Facility:__)T(_                                                                 Date:      f /r£~~6:J(
Offender Name:~ .1'7ton . llSc;n                  ID#: -Sotclcl..1--                                                               SM~~:•                   Race:       lj   )l4b:
 Observation Date:   ~ {8~ !~of\ Approximate Time:                                                                       Location: •D..,_·..._Y~·11_,_,_l'-"P--'<=C,..,.L'-'-'li._.,_\__._I,._,({=
                                                                                                                                                                                               L L=---
 Offense(s): DR 504:
                         J1J:tl. _ \\VV::bV
                                      ·..,;- vl(f
                                             .
 Observation: (NOTE: Each offense identified above must be substantiated.)




 Witness(es):        (Vi . :B1v: ~nf (
               D Check if Offender Disciplina         Continuation Page, DOC 0318, is attached ·to describe additional facts, observations or witnesses.
                                                                                                                                                                                          Oa.m.
                                                                                                                                                                                         ~-m,
     Reporting Employee (Print Name)


                                                                                    Disciplinary Action:

 Shift Review: : Oremporary Confinement                                 D   Investigative Status               Reasons:_________________


 Printed Name and Badge#                                                              Shift Supervisor's Signature                                                    Date
                                                                                      (For Transition Centers, Chief Administrative Officer)

 Reviewing Officer's Decision:            D Confi~ement reviewed by Reviewing Officer      Comment:______________
                                          ··~
     Major Infraction, submitted for Hearirtilj'!'lnvestigator, if necessary and to Adjustment Committee



                                                                                                                                                                      Date


 D   Hearing Investigator's Review Required (Adult Correc · nal Facility Major Reports Only):
                                                            ,':>' .•-
                                             •• '1



 Print Hearing Investigator's Name and Badge#                                        Hearin lnvestl ator's Signature                                                  Date

                                       Procedures Applicable to all Hearings on Investigative and Disciplinary Reports
 You have the right to appear and present a written or oral statement or explanation concerning the charges. You may present releva'nt'physical material such
 as records or documents.
                           Procedures Applicable to Hearings Conducted by the Adjustment Committee on Disciplinary Reports
 You may ask that witnesses be interviewed and, if necessary and relevant, they may be called to testify during your hearing. You may ask that witnesses be
 questioned along lines you suggest. You must indicate in advance of the hearing the witnesses you wish to have interviewed and specify what they could
 testify to by filling out the appropriate space on this form, tearing it off, and returning it to the Adjustment Committee. You may have staff assistance if you are
 unable to prepare a defense. You may request a reasonable extension of time to prepare for your hearing.

¥    Check if offender refused to sign
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                              D I hereb/agr?e to waive 24-hour notice of charges pr1or to the disciplinary hearing.
                 1:07-cv-01298-MMM # 3409 Page 26 of 55
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 5 '. ·    i:frr~r:Jason E Ralston, S06627                     ~i       .....   /)('?        0    ,A .......a.......
 s·· ' ·           JOLIET TREATMENT CENTER                     i·       ~ "t.,.. - , ~
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                   2848 West McDonough Street              ·        ·   {)j _      ./1..,, ;-..._
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    1st Lvl rec:                                                    1:07-cv-01298-MMM     # 34092nd LvlPage
                                                              ILLINOIS DEPARTMENT OF CORRECTIONS
                                                                     Offender's Grievance               rec 28 of 55



     a ure o grievance:
        0    Personal Property                         0   Mail Handling       KJ. Medical Treatment               O   ADA Disability Accommodation
        ~ Staff Conduct                            ,.JQ,Qi!a!aCll-----Ejrltf>A-A-_ _ _ _ _ _El--ftiesturcrtion--c:tf--Eieflc!ef1ce.;Credit
        0 Transfer Denial by Facility
        O Disciplinary Report
                                                                                                              Facillty where issued

        Note: Protective Custody Denials may be grieved immediately via the local administration on the protective custody status notification.

  Complete: Attach a copy of any pertinent document (such as a Disciplinary Report, Search Record, etc.) and place in the designated
  locked receptacle marked "grievance":
             Counselor, unless the issue involves discipline, is deemed an emergency, or is subject to review by the Administrative Review Board
             Grievance Officer, only if the issue involves discipline at the present facility or issue not resolved by Counselor   •.
             Chief Administrative Officer, only if EMERGENCY grievance                                       ·
             Mail to Administrative Review Board, only if the issue involves protective custody, involuntary administration of psychotropic drugs,
             issues from another facility except medical and personal property issues, or issues not resolved by the Chief Administrative Officer.




                                                                                                                                oc, tI ao I  Datel



Counselor's Response (if applicable)                   Date Received:                        0   Send directly to Grievance Officer
0    Outside Jurisdiction of this facility. Send to: Administrative Review Board, PO Box 19277, Springfield, IL 62794-9277
 Response:




                     Pnnt Counselors Name                                           Sign Counselor's Name                                         Date

Note to offender: If you disagree with the counselor's response . it is your responsibility to forward grievance with counselor's response to the grievance officer.

EMERGENCY REVIEW:                     Date Received:

Is this determined to be of an emergency nature:


B    Yes, expedite emergency grievance
     No, an emergency is not substantiated. Offender should submit this grievance according to standard grievance procedure



                                         Chief Admm1strat1ve Officer's Signature                                                 Date
Distribution: Master File; Offender                                        Page 1 of2                                                      DOC 0046 (Rev. 01/2020)
1:07-cv-01298-MMM # 3409                 Page 29 of 55




  Assigned Grievance #/Institution: _ _ _ _ _ _ __                         Housing Unit:   O{i             Sect#:B::15::_

                                      ILLINOIS DEPARTMENT OF CORRECTIONS
  1st Lvl rec:                                                                              2nd Lvl rec:
                                            Offender's Grievance
                                         1:07-cv-01298-MMM # 3409                  Page 30 of 55

                                STATE OF f.01S -- "DEPARTMENT OF COR.                                          TIONS
                                                          ADJUSTMENT COMMITTEE
                                                          FINAL SUMMARY REPORT

                 Name: RALSTON , JASON E                         IDOC Number: S06627                                               Race: WHI
  Hearing Date/Time: 3/7/2016 11:19AM                              Living Unit: PON -SM-02-25                   Orientation Status: NIA
    Incident Number: 201600631/1 · PON                                 Status: Final

   Date            Ticket#                  Incident Officer                 Location                                            Time

   2/ 15/2016      201600631 / 1-PON       DAI KER , CHAO A                   SOUTH MENTAL HEALTH UNIT                             12:45 PM

   2/ 15/2016      201600631 /2-PON        KRAM, RYAN A                       SOUTH MENTAL HEALTH UNIT                             12:45 PM

  2/15/2016        201600631 /3-PON        . SCROGUM, DALE E                 SOUTH MENTAL HEALTH UNIT                              12:45 PM

     Offense                     Violation                                                          Final Result
     102                         Assaulting Any Person - Staff                                      Guilty
                                 Comments.KICKED LT AND GRABBED GROIN & SQUEEZED,
     108                         Sexual Assault - Staff                                             Guilty
                                 Comments:GRABBED GROIN AREA AND SQUEEZED
      Witness Type              Witness ID            Witness Name                              Witness Status

  No Witness. Requested

  RECORD OF PROCEEDINGS
  ·3 TICKETS COMBINED.

  REPORT READ. OFFENDER PLEADS NOT GUILTY. "THESE TICKETS ARE NOT TRUE. I DID NOT WANT TO
  LEAVE THE HEARING. I DID KlCK THE LIEUTENANT OUT OF FRUSTRATION BECAUSE HE WAS THE CLOSEST
  PERSON TO ME. I DID NOT INTENTIONALLY GRAB HIS GROIN" .



 BASIS FOR DECISION
  BASED ON THE OBSERVATION O F THE REPORTING EMPLOYEES, WHILE CONDUCTING AN ADJUSTMENT
  COMMITTEE HEARING WITH OFFENDER RALSTON, RALSTON WAS SHOUTING AND WOULD NOT SIT DOWN.
  RALSTON STOOD UP TO BE ESCORTED BY REPORTING LIEUTENANT SCROGUM AND REPORTING OFFICER
  DAI KER WHEN RALSTON KICKED LIEUTENANT SCROGUM IN THE RIGHT THIGH. RALSTON WAS PLACED ON
  THE GROUND AND LEG IRONS WERE APPLIED AND RALSTON GRABBED OFFICER DAIKER IN THE GROIN AREA
  AND SQUEEZED.

  THE POSITIVE IDENTIFI CATION OF THE OFFENDER BY STATE ID AND GALLE:RY CHART;

  ATTACHED DC 434 INCIDENT REPORTS SUBSTANTIATING THE INCIDENT;

  PER MENTAL HEAL TH , OFFENDER 'S MENTAL ILLNESS DID CONTRIBUTE TO THE UNDERLYING BEHAVIOR OF
  THE OFFENSE FOR WHICH THE DOC 0317 WAS ISSUED. PROPOSED TERM OF 6 MONTHS SEGREGATION
  RECOMMENDED. DOC 0443 FORM ATTACHED TO DISCIPLINARY REPORT IN OFFENDER'S MASTER FILE ;

  THE COMMITTEE IS SATISFIED THE VIOLATIONS OCCURRED AS REPORTED . .


 DISCIPLINARY ACTION (Consecutive to any priors)
                      RECOMMENDED
   1 Year CGrnde                                                           1 Year CGrade
   3 Months Segregation                                                    3 Months Segregation
   6 Months Commissary Restriction                                         6 Months Commissary Restrictip.Ji\nti-Dc r·.••rr,·-····',. , ~
   3 Months Yard Restriction                                               3 Months Yard Restriction               •·~..... .,.,.,), ,.,.,, C,,MtfJr
                                                                                                                           H-2tcon.J Otfi,· ·i
   6 Months Contact Visits Restriction                                     6 Months Contact Visits Restriction                          ·   A .

   Basis for Discipline:NATURE OF OFFENSE




Run Date : 3/25/201610:08 :11                             Page 1~~ton v.Scrogum, et al., 18-CV-1445, Doc. No. 00257
                                             1:07-cv-01298-MMM # 3409                Page 31 of 55

                                         STATE OF .        OIS -- DEPARTMENT OF COR.TIONS
                                                           ADJUSTMENT COMMITTEE
                                                           FINAL SUMMARY REPORT

                  Name: RALSTON , JASON E                          IDOC Number: S06627                                          Race: WHI
  Hearing Dateffime: 3/7/2016               11:19AM ·                  Living Unit: PON-SM-02-25                Orientation Status: NIA
    Incident Number: 201600631 /1 - PON                                     Status: Final

      Signatures
      Hearing Committee
      BROWN, CHAD M - Chair Person                                                                                         03/07/16        WHI
                                                                                    ~na~re_            r _n                  Date          Race
      SALINAS , ABERARDO A                                                          ~              ctv--X-- ·03/07/16                      HSP


                                                                        /prtl~                                               Date         Race
      THOMAS, BROOK                                                                                                      03/07/16         WHI
                                                                        (       ·   Signature                                Date         Race
       Recommended Action Approved


  Final Comments: NIA




   GUY D PIERCE/ GDP 3/24/2016                                                                                      03/24/16
          Chief Administrative Officer                                                                              Date

  The commit1ed person has the right to appeal an adverse decision through the grievance procedure established by Department Rule 504: Subpart F.
           Jc;:::.
         7
                                         ommitted Person                               When Served • - Date;    TI;;;=




Run Date : 3/25/2016 10:08:11                               Page ~l~ton v.Scrogum, et al., 18-CV-1445, Doc. No. 00258
                                                            1:07-cv-01298-MMM # 3409                                                                         Page 32 of 55
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               J OL I ET           T R E A T M E N T       CENTER·

Prepared for; Community Therapeutic Program at Joliet Treatment Center


          CA N YOU SUMMARIZE THE MEANING OF LIFE I N ONE WORD ?
                                         BY

                                  JASON E. RALSTON
The answer is community ~_ Greek phidld>ssphy says life is all about coornunity •.•.

The Greeks of old say life is all about knowing the difference between right and
wrong , good and bad , evenyone working together , getting along) helping each other
out , and following the l aws .

Similarely , Chinese philosophy says it takes a corrmunity to raise a child. Since
we all start out as children we learn as children that our community supports us
and helps us t hrough life.

Likewise , the Bi ble 1 s two greatest co:rmandments are no . 1 , Do unto others as you
woul d have them do unto you, and no . 2, love thy neigh90r as thyvse,l f'. In short>
the Bi ble agrees life is all about corrmunity .

In sum, life is all about corrmun±ty.i knowing and always doing what is right and

good, getting along with everyone around you) helping ~__,out your friends and foes
someti mes ~ and always following t he law.
Corrmunity is also defined as a body of people living in the s&ue place under the
same l aws ,

                                       April 1 2019
                                                                1:07-cv-01298-MMM # 3409                                                           Page 35 of 55



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        MotlllltlN:
        Tonometry:                                                                   •  NCT      oo____ OS _ _ _-'--_ Time: _ _ __
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                                                          Lens
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                                                                         Right                                            Left

         Disc

         Vessels                                                                                                                                     0    BIO
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         Vitreous                                                                                                                                    0    Other:

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                ·            Print QoclOr' s Name            ,                       ~ign-::;rt-c                                               Follow-Up:---e--_
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                                                                                              JASON E. RALSTON
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Z'1                                                                                     Joliet Treatment Center
~-/
                                                                                         2848 w. McDonough St~
                                                                                           Joliet> IL. 60436



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